                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                               Plaintiff,

        v.                                                 No. 20 Civ. 7311 (LAK) (JLC)

 DONALD J. TRUMP, in his personal capacity,

                               Defendant.


                        STIPULATION AND [PROPOSED] ORDER
       Pursuant to Your Honor’s Individual Rules of Practice, Plaintiff E. Jean Carroll and

Defendant Donald J. Trump, by their undersigned counsel and subject to the approval of the Court,

enter into the following Stipulation and Proposed Order:

       WHEREAS the Court entered a Scheduling Order (Doc No. 76) setting deadlines to govern

discovery in this action, including that the parties shall make any and all expert disclosures under

Federal Rule of Civil Procedure 26(a)(2) on or before September 16, 2022;

       WHEREAS the parties have met and conferred regarding a joint request to extend the

deadline to make expert disclosures under Rule 26(a)(2);

       WHEREAS the parties have not previously requested any extension of the deadline for

making expert disclosures under Rule 26(a)(2);

       WHEREAS all other dates set forth in the Scheduling Order would remain unchanged by

such a request, including that the parties shall complete any and all expert discovery on or before

November 16, 2022;
       IT IS ACCORDINGLY STIPULATED AND AGREED that the parties’ deadline for

making their expert disclosures under Rule 26(a)(2) is extended until October 14, 2022.

Dated: August 23, 2022



 /s/ Roberta A. Kaplan                               /s/ Alina Habba
Roberta A. Kaplan                                   Alina Habba
Shawn Crowley                                       Michael Madaio
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Counsel for Plaintiff E. Jean Carroll



IT IS SO ORDERED this ____ day of ________________, 2022


_____________________________________
The Hon. Lewis A. Kaplan
United States District Judge




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